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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


HARRY WILEY, individually and on
behalf of all others similarly situated,

                               Plaintiff,

v.                                                   CIVIL ACTION NO. 2:25-cv-00227

ROBERT F. KENNEDY JR., in his official
capacity as Secretary of Health and Human
Services, and U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES,

                               Defendants.



                                     ORDER AND NOTICE


         Pursuant to LR Civ P 16.1, it is ORDERED that the following dates are hereby fixed as

the time by or on which certain events must occur:

06/02/25        Motion Under FR Civ P 12(b), together with supporting briefs, memoranda,
                affidavits, or other such matter in support thereof. (All motions unsupported by
                memoranda will be denied without prejudice pursuant to LR Civ P 7.1(a).)

06/09/25        Last day for Rule 26(f) meeting.

06/16/25        Last day to file Report of Parties’ Planning Meeting and Scheduling Order
                Worksheet, available on the Court’s website. See LR Civ P 16.1.

07/02/25        Scheduling conference at 11:30 a.m., in Charleston, West Virginia, before the
                undersigned, unless cancelled. If held, lead counsel shall appear and be prepared
                to discuss the following:

                (a)    the discovery to be completed and the amount of time necessary for its
                       completion;
                (b)    the further formulation and simplification of issues, including possible
                       elimination of claims or defenses;
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               (c)     the possibility of entering into stipulations regarding issues for trial;
               (d)     the possibility of obtaining admissions regarding facts and documents; and
               (e)     other matters that will assist the parties in reaching a final resolution of this
                       matter.

07/09/25       Entry of Scheduling Order.

07/16/25       Last day to serve FR Civ P 26(a)(1) initial disclosures pre-discovery.



                                              NOTICE


       The provision of FR Civ P 14 and 15 with respect to the time in which to file third-party

claims and to amend pleadings without leave of court are not affected by this Order and Notice.

       Pursuant to LR Civ P 16.1 and 73.1, the parties are informed of their opportunity to consent

to the exercise by a magistrate judge of civil jurisdiction over the case, including entry of judgment,

as authorized by 28 U.S.C. § 636. The parties may consent by filing a Consent to Jurisdiction by

a United States Magistrate Judge (FR Civ P Form 34), or by so indicating on the Report of Parties’

Planning Meeting and Scheduling Order Worksheet, all of which are available on the Court’s

website.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and to

any unrepresented party.

                                               ENTER:          May 19, 2025
